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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      :    CRIMINAL NO. 22-cr-15 (APM)
                                               :
                     v.                        :
                                               :
 (1) ELMER STEWART RHODES III,                 :
                                               :
 (2) KELLY MEGGS,                              :
                                               :
 (3) KENNETH HARRELSON,                        :
                                               :
 (4) JESSICA WATKINS, and                      :
                                               :
 (5) THOMAS CALDWELL,                          :
                                               :
                  Defendants.                  :

                                     VERDICT FORM

Count One: Seditious Conspiracy

   A. Do you find that the government has proved beyond a reasonable doubt the
      existence of the conspiracy charged in Count One?

      No _____ Yes _____

      If your answer is “No,” you must enter a verdict of Not Guilty as to Count One for each
      defendant listed in C below.

      If your answer is “Yes,” answer parts B and C below.

   B. Did the conspiracy charged in Count One include one or both of the following
      goals?

             Goal One:      To oppose by force the authority of the Government of the
                            United States?

             No _____ Yes _____

             Goal Two:      To use force to prevent, hinder, or delay the execution of any
                            law of the United States?

             No _____ Yes _____




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   C. Verdict as to each defendant:

             (1) Elmer Stewart Rhodes III

             Not Guilty _____ Guilty _____

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____

             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____

             (4) Jessica Watkins

             Not Guilty _____ Guilty _____

             (5) Thomas Caldwell

             Not Guilty _____ Guilty _____



Count Two: Conspiracy to Obstruct an Official Proceeding

   A. Do you find that the government has proved beyond a reasonable doubt the
      existence of the conspiracy charged in Count Two?

      No _____ Yes _____

      If your answer is “No,” you must enter a verdict of Not Guilty as to Count Two for each
      defendant listed in B below.

      If your answer is “Yes,” answer part B below.

   B. Verdict as to each defendant:

             (1) Elmer Stewart Rhodes III

             Not Guilty _____ Guilty _____

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____




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             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____

             (4) Jessica Watkins

             Not Guilty _____ Guilty _____

             (5) Thomas Caldwell

             Not Guilty _____ Guilty _____



Count Three: Obstruction of an Official Proceeding

             (1) Elmer Stewart Rhodes III

             Not Guilty _____ Guilty _____

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____

             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____

             (4) Jessica Watkins

             Not Guilty _____ Guilty _____

             (5) Thomas Caldwell

             Not Guilty _____ Guilty _____



Count Four: Conspiracy to Prevent Members of Congress from Discharging Their Duties

   A. Do you find that the government has proved beyond a reasonable doubt the
      existence of the conspiracy charged in Count Four?

      No _____ Yes _____

      If your answer is “No,” you must enter a verdict of Not Guilty as to Count Four for each
      defendant listed in part C below.



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      If your answer is “Yes,” answer parts B and C below.

   B. Did the conspiracy charged in Count One include one or both of the following
      goals?

             Goal One:     To prevent a Member of Congress from discharging a duty as a
                           Member of Congress?

             No _____ Yes _____

             Goal Two:     To induce a Member of Congress to leave the place where the
                           Member of Congress’s duties are required to be performed?

             No _____ Yes _____

   C. Verdict as to each defendant:

             (1) Elmer Stewart Rhodes III

             Not Guilty _____ Guilty _____

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____

             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____

             (4) Jessica Watkins

             Not Guilty _____ Guilty _____

             (5) Thomas Caldwell

             Not Guilty _____ Guilty _____



Count Five: Destruction of Government Property

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____

             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____


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                (4) Jessica Watkins

                Not Guilty _____ Guilty _____



Count Six: Obstructing Officers During a Civil Disorder

                (4) Jessica Watkins

                Not Guilty _____ Guilty _____

         If your decision on Count Four is Not Guilty, skip questions (a) through (d). If your
         decision on Count Six is Guilty, answer questions (a) through (d).

   (a)      The civil disorder in any way or degree obstructed, delayed, or adversely affected
            commerce or the movement of any article or commodity in commerce.

            No _____ Yes _____


   (b)      The civil disorder in any way or degree obstructed, delayed, or adversely affected the
            conduct or performance of a federally protected function, that is, Congress’s
            Certification of the Electoral College Vote.

            No _____ Yes _____


   (c)      The civil disorder in any way or degree obstructed, delayed, or adversely affected the
            conduct or performance of a federally protected function, that is, the United States
            Capitol Police’s protection of the United States Capitol building and grounds.

            No _____ Yes _____

   (d)      The civil disorder in any way or degree obstructed, delayed, or adversely affected the
            conduct or performance of a federally protected function, that is, the United States
            Secret Service’s protection of protected persons.

            No _____ Yes _____




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Count Seven: Tampering with Documents or Proceedings

             (1) Elmer Stewart Rhodes III

             Not Guilty _____ Guilty _____



Count Eight: Tampering with Documents or Proceedings

             (2) Kelly Meggs

             Not Guilty _____ Guilty _____



Count Nine: Tampering with Documents or Proceedings

             (3) Kenneth Harrelson

             Not Guilty _____ Guilty _____



Count Ten: Tampering with Documents or Proceedings

             (5) Thomas Caldwell

             Not Guilty _____ Guilty _____



Date: November ___, 2022
                                                     Signature of Foreperson




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